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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KATERINA SPANGLER and
CHRISTOPHER TURNER as parents and                      CASE NO.:
natural guardians of L.T., a minor, and
individually in their own right
318 North High Street
Martensburg, WV 25404
                                                       CIVIL ACTION
                             Plaintiffs
                                                       JURY TRIAL DEMANDED
                    v.

CHARLES H. MARKS, D.O.
47 Gettys Street
Gettysburg, PA 17325

     and

KATHERINE E. JOHNSON, CNM
47 Gettys Street
Gettysburg, PA 17325

     and

THE GETTYSBURG HOSPITAL d/b/a
WELLSPAN GETTSBURG HOSPITAL
47 Gettys Street
Gettysburg, PA 17325

                             Defendants.


                                         CIVIL ACTION-COMPLAINT

I.         NATURE OF ACTION

           1.       Plaintiffs, Katerina Spangler and Christopher Turner, as parents and natural

guardians of L.T., a minor, and individually in their own right, bring this medical malpractice

action against Defendants Charles H. Marks, D.O., Katherine E. Johnson, CNM and The




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Gettysburg Hospital d/b/a Wellspan Gettysburg Hospital as a result of an incident involving the

labor and delivery of their minor son, L.T., on July 12, 2020.

         2.        As a result of the negligent acts and omissions of the defendants, L.T. suffered

serious and life altering injuries, more fully described herein. Plaintiff-parents Katerina Spangler

and Christopher Turner also bring claims for emotional distress and economic damages.

II.      PARTIES

         3.        Plaintiffs, Katerina Spangler and Christopher Turner, as parents and natural

guardians of L.T., a minor, and individually in their own right, are adult citizens of West

Virginia residing at 318 North High Street, Martinsburg, WV 25404.

         4.        Defendant Charles H. Marks, D.O. (hereafter “Dr. Marks”) is a is an individual

and duly licensed and practicing OBGYN with a business address of 47 Gettys Street,

Gettysburg, PA 17325.

         5.        At all relevant times hereto, defendant Dr. Marks undertook the care of Plaintiff

Katerina Spangler and her minor son, L.T.

         6.        At all relevant times hereto, defendant Dr. Marks was engaged in the practice of

obstetrics and gynecology, pursuant to his specialty, and was obliged to bring to bear in the

practice of his profession the professional skill, knowledge, and care which he possessed and to

pursue his profession in accordance with reasonably safe and accepted standards of medicine.

         7.        Plaintiff is asserting a professional liability claim against defendant Dr. Marks. A

Certificate of Merit is attached hereto as Exhibit “A.”

         8.        Defendant Katherine E. Johnson, CNM (hereafter “Nurse Midwife Johnson”) is a

is an individual and duly licensed and practicing midwifery with a business address of 47 Gettys

Street, Gettysburg, PA 17325.


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         9.        At all relevant times hereto, defendant Nurse Midwife Johnson undertook the care

of Plaintiff Katerina Spangler and her minor son, L.T.

         10.       At all relevant times hereto, defendant Nurse Midwife Johnson was engaged in

the practice of midwifery, pursuant to her specialty, and was obliged to bring to bear in the

practice of her profession the professional skill, knowledge, and care which she possessed and to

pursue her profession in accordance with reasonably safe and accepted standards of midwifery

medicine.

         11.       Plaintiff is asserting a professional liability claim against defendant Nurse

Midwife Johnson. A Certificate of Merit is attached hereto as Exhibit “B.”

         12.       Defendant The Gettysburg Hospital d/b/a WellSpan Gettysburg Hospital

(otherwise referred to as “Gettysburg Hospital”), is a professional corporation or other legal

entity incorporated under the laws of the Commonwealth of Pennsylvania, that at all relevant

times had a business address of 47 Gettys Street, Gettysburg, PA 17325, and at all relevant times

was engaged in the provision of medical care and services to Plaintiff Katerina Spangler and her

minor son, L.T.

         13.       At all relevant times, defendant The Gettysburg Hospital d/b/a WellSpan

Gettysburg Hospital owned, maintained, operated and/or controlled a hospital and employed

various physicians, fellows, residents, interns, physician assistants, nurse practitioners, nurses,

technicians and other agents, servants, and employees, including but not limited to defendants

Dr. Marks and Nurse Midwife Johnson, who purportedly possessed skill and training for the

purpose of providing medical care and services to Plaintiff Katerina Spangler and her minor son,

L.T.




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         14.       The claims asserted against defendant The Gettysburg Hospital d/b/a WellSpan

Gettysburg Hospital are for the professional negligence of its actual, apparent and/or ostensible

agents, servants and employees, physicians, fellows, residents, interns, physician assistants,

nurse practitioners, nurses, technicians, including but not limited to defendants Dr. Marks and

Nurse Midwife Johnson, who participated in the labor and delivery of L.T. on July 12, 2020 and

who at all times were acting within the course and scope of defendant’s agency and/or

employment with defendant and under its exclusive control.

         15.       Defendant The Gettysburg Hospital d/b/a WellSpan Gettysburg Hospital is

responsible for physicians, fellows, residents, interns, physician assistants, nurse practitioners,

nurses, technicians and other agents, servants, and employees, including but not limited to

defendants Dr. Marks and Nurse Midwife Johnson, and owes a duty of care to Plaintiff Katerina

Spangler and her minor son, L.T.

         16.       Defendant The Gettysburg Hospital d/b/a WellSpan Gettysburg Hospital is liable

for the negligent acts or omissions of its servants, employees, and actual or ostensible agents

under theories of respondeat superior, master-servant, agency, and right of control.

         17.       Defendant The Gettysburg Hospital d/b/a WellSpan Gettysburg Hospital is liable

for the negligent acts or omissions of any agents, servants and employees who participated in,

were consulted about or were otherwise responsible for caring of Plaintiff Katerina Spangler

and/or L.T. on July 12, 2020 but whose names and/or handwriting are indecipherable, are not

known or knowable to Plaintiffs after reasonable investigation and will require additional

discovery from defendants.




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          18.      Plaintiff is asserting a professional liability claim against defendant The

Gettysburg Hospital d/b/a WellSpan Gettysburg Hospital. A Certificate of Merit is attached

hereto as Exhibit “C.”

          19.      Defendants Dr. Marks, Nurse Midwife Johnson and Gettysburg Hospital will

hereinafter collectively be referred to as the “Defendants.”

          20.      At all relevant times, a physician-patient relationship existed between Plaintiff

Katerina Spangler, L.T. and Defendants.

          21.      At all relevant times, Plaintiff Katerina Spangler and L.T. were under the medical

and professional care, treatment and attendance of Defendants, directly or indirectly, through their

agents, servants, and/or employees, who participated in their care as described herein.

          22.      At all relevant times, Defendants undertook and/or assumed a duty to Plaintiff

Katerina Spangler and L.T. to provide them with timely and appropriate medical care,

management and treatment in connection with her presenting condition, and to avoid the risk of

harm and additional injury.

          23.      At all relevant times, Defendants had actual or constructive knowledge of the medical

and professional care and treatment provided to Plaintiff Katerina Spangler and L.T., as recited

herein.

          24.      The carelessness and negligence of Defendants and each of them, jointly and

severally, as described herein, increased the risk of harm to Plaintiffs and did, in fact, cause them

to suffer serious injuries and damages.

          25.      At all relevant times, Plaintiffs relied on the knowledge, care, skill, treatment and

advice of the Defendants in connection with the medical and professional care and treatment

provided to Plaintiff Katerina Spangler and L.T. on July 12, 2020.


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III.     JURSIDICTION AND VENUE

         26.       Jurisdiction for this action is conferred on The United States District Court for the

Middle District of Pennsylvania under 28 U.S.C. § 1332 (a)(1).

         27.       The amount in controversy exceeds seventy-five thousand dollars ($75,000)

pursuant to 28 U.S.C. § 1332 (a).

         28.       A jury trial is demanded.

         29.       Venue is properly laid in the Middle District of Pennsylvania because the

witnesses and incident location are all common to Adams County.

IV.      OPERATIVE FACTS COMMON TO ALL COUNTS

         31.       On July 12, 2020 at 0906, Plaintiff Katerina Spangler was in labor with her first

child, L.T., and presented to Gettysburg Hospital. At the time of her arrival at the hospital, she

was dilated approximately 4-5 cm.

         32.       During the course of her labor at Gettysburg Hospital, she was followed by

Midwife Johnson and OBGYN physician Dr. Marks.

         33.       Ms. Spangler’s dilation was progressing slowly, and a decision was made by

Midwife Johnson and/or Dr. Marks to augment her labor by administering IV Pitocin.

         34.       During Ms. Spangler’s labor, baby L.T.’s heart rate was monitored.

         35.       Starting at around 1324, the fetal heart rate (FHR) tracings started showing late

decelerations, which are signs of fetal distress.

         36.       At 1456, a prolonged deceleration occurred, which again is a sign of fetal distress.

         37.       Delivery is indicated when abnormal fetal heart rates affect the health of the

unborn baby.




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         38.       A delay between the decision to deliver and delivery can significantly and

permanently affect the health of the newborn.

         39.       When there are concerning fetal heart rates, medical providers attending to the

mother-to-be, must take interventions to improve uteroplacental perfusion and maternal/fetal

oxygenation.

         40.       Midwife Johnson and Dr. Marks failed to properly, timely and adequately

appreciate, diagnose, treat, intervene and act upon these “warning signs” of fetal distress during

the course of Ms. Spangler’s labor.

         41.       In light of Ms. Spangler’s protracted dilation, descent of baby L.T., and ongoing

and worsening FHR tracings after 1456, Midwife Johnson should have communicated with Dr.

Marks and recommended delivery of L.T.

         42.       Despite Ms. Spangler’s protracted dilation, descent of baby L.T., and ongoing and

worsening FHR tracings after 1456, Dr. Marks should have ordered and performed an

emergency c-section to deliver baby L.T.

         43.       Midwife Johnson further failed to call Dr. Marks to the patient’s bedside after

prolonged decelerations were specifically noted, inter alia, at around 1456, 1754, 1912-1915,

and 2012.

         44.       Infusion of Ms. Spangler’s Pitocin was continued by Midwife Johnson and Dr.

Marks.

         45.       At approximately 2031, Ms. Spangler began pushing. Abnormal FHR tracings

were noted, but Midwife Johnson did not call Dr. Marks to the bedside to check position and

evaluate FHR tracings.




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         46.       Descent of baby L.T. was proving difficult by 2148, and again, Ms. Spangler

should not have been considered a candidate for vaginal delivery. However, a c-section was not

recommended and/or ordered and/or performed.

         47.       Late decelerations were again noted at 2200 while Ms. Spangler was pushing, but

Midwife Johnson still did not call and update Dr. Marks until 2231.

         48.       Pitocin again should have been stopped by this time, but it was not discontinued

until 2309.

         49.       After recognizing the difficult of baby L.T.’s descent in the birth canal, Dr. Marks

recommended to Ms. Spangler and Mr. Turner that he use forceps to deliver L.T. and said the

forceps “would be no risk to the baby.” With only that incomplete explanation of the risks and

complications, the parents agreed to proceed.

         50.       Dr. Marks failed to recognize that Ms. Spangler was not a candidate for forceps

and deliver.

         51.       More egregiously, Dr. Marks improperly applied the forceps on baby L.T.,

crushing his skull, head, face and eyes, which new parents, Katerina Spangler and Christopher

Turner, witnessed in horror.

         52.       Delivery of baby L.T. occurred at 2324.

         53.       Due to baby L.T.’s severe injuries, he was transferred to Hershey Medical Center

for further specialized care and management.

         54.       During what otherwise should have been a joyous time for the Spangler/Turner

family, who had been anxiously awaiting the arrival of their first child, defendants’ carelessness

and negligence caused injuries and damages as enumerated in Plaintiffs’ First Cause of Action.




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         55.       These failures of defendants substantially increased the risk of harm to Plaintiffs.

         56.       Defendants, individually and/or jointly, are liable for the harm suffered by

Plaintiffs.

V.       DAMAGES

         57.       As a direct result of the tortious conduct of Defendants, L.T. suffered the

following permanent, severe and disabling personal injuries and damages, including but not

limited to:

                   a.        forceps injury;
                   b.        scleral hemorrhage of both eyes;
                   c.        damage to skull, face and eyes;
                   d.        laceration to head, face and eyes;
                   e.        edema of head, face and eyes;
                   f.        bruising of head, face and eyes;
                   g.        fetal distress in utero;
                   h.        neurological damage;
                   i.        developmental delays;
                   j.        hypoxic brain injury;
                   k.        need for lifetime medical care, therapies, medication, assistive devices and
                             other services;
                   l.        pain and suffering;
                   m.        physical and emotional distress;
                   n.        terror;
                   o.        panic;
                   p.        fear;
                   q.        disfigurement;
                   r.        humiliation;
                   s.        medical expenses;
                   t.        incidental and other expenses;
                   u.        economic damages;

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                   v.        mental anguish;
                   w.        loss of life’s pleasures; and
                   x.        other injuries and conditions documented in L.T.’s medical records.


         58.       As a direct result of the tortious conduct of Defendants, Plaintiffs Katerina

Spangler and Christopher Turner suffered the following injuries, including but not limited to:

                   a.        emotional distress;
                   b.        mental anguish;
                   c.        panic;
                   d.        fear;
                   e.        depression;
                   f.        psychological trauma;
                   g.        PTSD;
                   h.        medical expenses;
                   i.        incidental and other expenses;
                   j.        economic damages;
                   k.        loss of life’s pleasures; and
                   l.        other injuries and conditions documented in Plaintiff’s medical records.
         59.            The economic and non-economic injuries, damages and losses suffered by

Plaintiffs were caused solely and exclusively by the negligence of defendants and/or their agents,

servants and employees, as described herein, jointly and severally, and were not caused or

contributed to by any act or failure to act on the part of Plaintiffs.

                               COUNT ONE – NEGLIGENCE
                    PLAINTIFFS v. DEFENDANT CHARLES H. MARKS, D.O.
         60.       The preceding paragraphs of this Complaint are incorporated as though fully set

forth herein.




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         61.       The injuries to Plaintiffs were the direct result of the negligence and carelessness

of Defendant Dr. Marks, which consisted of the following:

                   a.        failure to properly, timely and adequately appreciate, diagnose and address
                             Plaintiff Katerina Spangler’s protraction of dilation during labor of L.T.,
                             causing fetal distress to L.T.;

                   b.        failure to properly, timely and adequately appreciate, diagnose and address
                             Plaintiff Katerina Spangler’s protraction of descent during labor of L.T.,
                             causing fetal distress to L.T.;

                   c.        failure to timely and adequately appreciate, diagnose and address Plaintiff
                             Katerina Spangler’s abnormal FHR tracings during labor of L.T., causing
                             fetal distress to L.T.;

                   d.        failure to properly, adequately and sufficiently employ interventions to
                             improve uteroplacental perfusion and maternal/fetal oxygenation to
                             address Plaintiff Katerina Spangler’s abnormal FHR tracings;

                   e.        failure to properly, timely and adequately appreciate, diagnose and address
                             L.T.’s fetal distress during labor and delivery;

                   f.        failure to properly and timely failure to properly, adequately and
                             sufficiently manage Pitocin during labor;

                   g.        failure to properly, timely appreciate emergent need to deliver L.T. by c-
                             section on July 12, 2020, when abnormal FHR tracings were present,
                             ongoing and worsening;

                   h.        failure to properly and timely appreciate emergent risk of fetal anoxia to
                             L.T. when abnormal FHR tracings were present, ongoing and worsening;

                   i.        failure to properly, timely and promptly deliver L.T. by c-section on July
                             12, 2020 when abnormal FHR tracings were present, ongoing and
                             worsening;

                   j.        failure to properly and adequately inform Plaintiffs of the risks and
                             complications of applying forceps to deliver L.T.;

                   k.        failure to properly apply forceps during delivery of L.T.;

                   l.        failure to properly, timely and adequately consult with nursing staff,
                             including Nurse Midwife Johnson, during labor of L.T. on progression of
                             labor and abnormal FHR tracings; and


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                   m.        failure to conform to the requisite medical and obstetrical standards of
                             care at the time and treatment of Plaintiff Katerina Spangler and L.T. on
                             July 12, 2020.

         62.       The foregoing negligence of the above-identified defendant increased the risk of

harm to Plaintiffs.

         63.       As a direct and proximate result of the negligent acts and omissions of the above-

identified defendant, Plaintiff L.T. was deprived of necessary, timely and appropriate evaluation,

diagnosis, treatment and management of the labor and delivery process.

         64.       As a direct and proximate result of the negligence of the above-identified

defendant Plaintiff L.T. suffered catastrophic injuries, as described herein Plaintiffs’ Damages

section of the Complaint.

        WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally,

for all actual and compensatory damages in an amount in excess of the prevailing federal

arbitration limit and for any other further relief as this Honorable Court and/or jury may deem

just and proper.

                              COUNT TWO – NEGLIGENCE
                PLAINTIFFS v. DEFENDANT KATHERINE E. JOHNSON, CNM
         65.       The preceding paragraphs of this Complaint are incorporated as though fully set

forth herein.

         66.       The injuries to Plaintiffs were the direct result of the negligence and carelessness

of Defendant Nurse Midwife Johnson, which consisted of the following:

                   a.        failure to properly, timely and adequately appreciate, diagnose and address
                             Plaintiff Katerina Spangler’s protraction of dilation during labor of L.T.,
                             causing fetal distress to L.T.;

                   b.        failure to properly, timely and adequately appreciate, diagnose and address
                             Plaintiff Katerina Spangler’s protraction of descent during labor of L.T.,
                             causing fetal distress to L.T.;


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                   c.        failure to timely and adequately appreciate, diagnose and address Plaintiff
                             Katerina Spangler’s abnormal FHR tracings during labor of L.T., causing
                             fetal distress to L.T.;

                   d.        failure to properly, adequately and sufficiently employ interventions to
                             improve uteroplacental perfusion and maternal/fetal oxygenation to
                             address Plaintiff Katerina Spangler’s abnormal FHR tracings;

                   e.        failure to properly, timely and adequately appreciate, diagnose and address
                             L.T.’s fetal distress during labor and delivery;

                   f.        failure to properly and timely failure to properly, adequately and
                             sufficiently manage Pitocin during labor;

                   g.        failure to properly, timely appreciate emergent need to deliver L.T. by c-
                             section on July 12, 2020, when abnormal FHR tracings were present,
                             ongoing and worsening;

                   h.        failure to properly and timely appreciate emergent risk of fetal anoxia to
                             L.T. when abnormal FHR tracings were present, ongoing and worsening;

                   i.        failure to properly, timely and promptly recommend delivery of L.T. by c-
                             section on July 12, 2020 when abnormal FHR tracings were present,
                             ongoing and worsening;

                   j.        failure to timely and adequately inform attending physicians, including Dr.
                             Marks, of abnormal fetal heart rates;


                   k.        failure to timely and adequately inform attending physicians, including Dr.
                             Marks, of protraction of dilation during labor of L.T.;

                   l.        failure to timely and adequately inform attending physicians, including Dr.
                             Marks, of protraction of descent during labor of L.T.; and

                   m.        failure to conform to the requisite midwifery medicine standards of care at
                             the time and treatment of Plaintiff Katerina Spangler and L.T. on July 12,
                             2020.

         67.       The foregoing negligence of the above-identified defendant increased the risk of

harm to Plaintiffs.

         68.       As a direct and proximate result of the negligent acts and omissions of the above-

identified defendant, Plaintiff L.T. was deprived of necessary, timely and appropriate evaluation,

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diagnosis, treatment and management of the labor and delivery process.

         69.       As a direct and proximate result of the negligence of the above-identified

defendant Plaintiff L.T. suffered catastrophic injuries, as described herein Plaintiffs’ Damages

section of the Complaint.

        WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally,

for all actual and compensatory damages in an amount in excess of the prevailing federal

arbitration limit and for any other further relief as this Honorable Court and/or jury may deem

just and proper.

                              COUNT THREE – NEGLIGENCE
                 PLAINTIFFS v. DEFENDANT THE GETTYSBURG HOSPITAL
                        d/b/a WELLSPAN GETTSBURG HOSPITAL

         70.       The preceding paragraphs of this Complaint are incorporated as though fully set

forth herein.

         71.       Defendant Gettysburg Hospital is vicariously liable for the negligent and careless

acts of defendant’s agents, ostensible agents, servants, and/or employees whose identities, except

for the medical providers named herein, are known only to defendant, and the negligence and

careless acts consisted of one or more of the following:

                   a.        failure to properly, timely and adequately appreciate, diagnose and address
                             Plaintiff Katerina Spangler’s protraction of dilation during labor of L.T.,
                             causing fetal distress to L.T.;

                   b.        failure to properly, timely and adequately appreciate, diagnose and address
                             Plaintiff Katerina Spangler’s protraction of descent during labor of L.T.,
                             causing fetal distress to L.T.;

                   c.        failure to timely and adequately appreciate, diagnose and address Plaintiff
                             Katerina Spangler’s abnormal FHR tracings during labor of L.T., causing
                             fetal distress to L.T.;

                   d.        failure to properly, adequately and sufficiently employ interventions to
                             improve uteroplacental perfusion and maternal/fetal oxygenation to
                             address Plaintiff Katerina Spangler’s abnormal FHR tracings;

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                   e.        failure to properly, timely and adequately appreciate, diagnose and address
                             L.T.’s fetal distress during labor and delivery;

                   f.        failure to properly and timely failure to properly, adequately and
                             sufficiently manage Pitocin during labor;

                   g.        failure to properly, timely appreciate emergent need to deliver L.T. by c-
                             section on July 12, 2020, when abnormal FHR tracings were present,
                             ongoing and worsening;

                   h.        failure to properly and timely appreciate emergent risk of fetal anoxia to
                             L.T. when abnormal FHR tracings were present, ongoing and worsening;

                   i.        failure to properly, timely and promptly recommend delivery of L.T. by c-
                             section on July 12, 2020 when abnormal FHR tracings were present,
                             ongoing and worsening;

                   j.        failure to timely and adequately inform attending physicians, including Dr.
                             Marks, of abnormal fetal heart rates;


                   k.        failure to timely and adequately inform attending physicians, including Dr.
                             Marks, of protraction of dilation during labor of L.T.;

                   l.        failure to timely and adequately inform attending physicians, including Dr.
                             Marks, of protraction of descent during labor of L.T.;

                   m.        failure to conform to the requisite midwifery medicine standards of care at
                             the time and treatment of Plaintiff Katerina Spangler and L.T. on July 12,
                             2020;

                   n.        failure to properly, timely and promptly deliver L.T. by c-section on July
                             12, 2020 when abnormal FHR tracings were present, ongoing and
                             worsening;

                   o.        failure to properly and adequately inform Plaintiffs of the risks and
                             complications of applying forceps to deliver L.T.;

                   p.        failure to properly apply forceps during delivery of L.T.;

                   q.        failure to properly, timely and adequately consult with nursing staff,
                             including Nurse Midwife Johnson, during labor of L.T. on progression of
                             labor and abnormal FHR tracings; and



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                   r.        failure to conform to the requisite medical and obstetrical standards of
                             care at the time and treatment of Plaintiff Katerina Spangler and L.T. on
                             July 12, 2020.

         72.       The foregoing negligence of the above-identified defendant increased the risk of

harm to Plaintiffs.

         73.       As a direct and proximate result of the negligent acts and omissions of the above-

identified defendant, Plaintiff L.T. was deprived of necessary, timely and appropriate evaluation,

diagnosis, treatment and management of the labor and delivery process.

         74.       As a direct and proximate result of the negligence of the above-identified

defendant Plaintiff L.T. suffered catastrophic injuries, as described herein Plaintiffs’ Damages

section of the Complaint.

        WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally,

for all actual and compensatory damages in an amount in excess of the prevailing federal

arbitration limit and for any other further relief as this Honorable Court and/or jury may deem

just and proper.

                       COUNT FOUR – CORPORATE NEGLIGENCE
                 PLAINTIFFS v. DEFENDANT THE GETTYSBURG HOSPITAL
                        d/b/a WELLSPAN GETTSBURG HOSPITAL

         75.       The preceding paragraphs of this Complaint are incorporated as though fully set

forth herein.

         76.       In addition to the derivative and vicarious liability of Defendant Gettysburg

Hospital for the negligent acts and omissions of its agents, servants and employees whose

identities, except for the medical providers identified herein, are known only to defendant,

Defendant owed direct and non-delegable duties to Plaintiffs under the tenets set forth in

Thompson v. Nason, 591 A.2d 709 (Pa. 1991) and its progeny of case law, including Welsh v.


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Bulger, 698 A.2d 581 (Pa. 1997) and Whittington v. Woods, 768 A.2d 1144 (Pa. Super. Ct.

2001).

          77.      The above-identified defendant’s duties included: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.

          78.      The above-identified defendant had a duty to Plaintiffs to exercise reasonable care

in the appointment and reappointment of medical staff, including physicians, midwives, and

nurses.

          79.      The above-identified defendant had a duty to Plaintiffs to provide reasonable and

competent medical care and services and to avoid conduct that would increase the risk of harm

and/or in fact cause harm to its patients.

          80.      The above-identified defendant knew or should have known that the physicians,

midwives and nurses assigned to Plaintiff Katerina Spangler and L.T. were not qualified to

provide competent medical care and treatment.

          81.      The above-identified defendant had an obligation to formulate, adopt and enforce

adequate labor and delivery policies and procedures to ensure the safe and appropriate treatment

of Plaintiff Katerina Spangler and L.T.

          82.      The above-identified defendant was negligent in failing to supervise and monitor

the medical care and treatment rendered to Plaintiff Katerina Spangler and L.T. when it knew or

should have known that the physicians, midwives and nurses assigned, who were charged with

and responsible for the labor and delivery of L.T., did not possess the requisite training, skill,



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knowledge and/or competency to properly care for Plaintiff Katerina Spangler and L.T.

         83.       The above-identified defendant was negligent in failing to properly determine the

qualifications and proficiencies of those physicians, midwives and nurses involved in the care of

Plaintiff Katerina Spangler and L.T. on July 12, 2020.

         84.       The corporate negligence of the above-identified defendant, arising out of the

medical care and treatment provided and/or negligently provided to Plaintiff Katerina Spangler

and L.T. on July 12, 2020, consisted of the following:

                   i.        failing to have physicians, midwives and nurses appropriate in number,
                             training, and/or experience to make appropriate and timely decisions with
                             respect to the evaluation, diagnosis, treatment and management of
                             protracted dilation, protracted descent and ongoing and worsening
                             abnormal FHR tracings during the labor of L.T.;

                   ii.       failing to have physicians, midwives and nurses appropriate in number,
                             training, and/or experience to promptly and properly recognize signs and
                             symptoms of fetal distress during the labor of L.T.;

                   iii.      failing to have physicians, midwives and nurses appropriate in number,
                             training, and/or experience to timely, properly, and adequately
                             recommend, order and perform an emergency c-section when there is
                             protracted dilation, protracted descent and ongoing and worsening
                             abnormal FHR tracings detected during the labor of L.T.;

                   iv.       failing to ensure that L.T. received appropriate attention from fully trained
                             and experienced physicians, midwives and nursing staff able to make
                             appropriate and timely decisions regarding the evaluation, diagnosis,
                             treatment and management of protracted dilation, protracted descent,
                             ongoing and worsening abnormal FHR tracings and fetal distress during
                             the labor of L.T.;

                   v.        failing to ensure that L.T. received appropriate attention from a fully
                             trained and experienced physician able to properly apply forceps during
                             delivery of L.T.;

                   vi.       failing to oversee all physician, midwives and nurses within its walls as to
                             patient care to assure that Plaintiff Katerina Spangler and L.T. were
                             appropriately and timely evaluated, assessed, managed during labor and
                             delivery;


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                   vii.      failing to formulate, adopt and enforce adequate policies and procedures to
                             ensure quality patient care, including written policies and procedures
                             regarding:

                             (1)       appropriate, reasonable, prompt and/or timely identification,
                                       evaluation, management and/or intervention of ongoing and
                                       worsening FHR tracings;

                             (2)       appropriate, reasonable, prompt and/or timely identification,
                                       evaluation, management and/or intervention of protracted dilation;

                             (3)       appropriate, reasonable, prompt and/or timely identification,
                                       evaluation, management and/or intervention of protracted descent;

                             (4)       appropriate, reasonable, prompt and/or timely identification,
                                       evaluation, management and/or intervention of fetal heart
                                       decelerations;

                             (5)       appropriate, reasonable, prompt and/or timely identification,
                                       evaluation, management and/or intervention of ongoing and
                                       worsening fetal distress;

                             (6)       appropriate, reasonable, prompt and/or timely reporting of
                                       abnormal FHR tracings by nurses and midwives to physicians
                                       caring for patient;

                             (7)       appropriate, reasonable, prompt and/or timely evaluation by
                                       physicians of a patient when abnormal FHR tracings are present,
                                       ongoing and worsening; and

                             (8)       proper application of forceps during delivery.

         85.       In violation of the accepted standards of care, the above-identified defendant did

not have adequate policies or procedures implemented in July 2020, as described above, and/or if

such policies were in place, the above-identified defendant failed to ensure that its physicians,

midwives, and nursing staff were aware of, familiar with and followed such policies.

         86.       The above-identified defendant knew or should have known that it did not have

adequate written policies and procedures in place, as described above.




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         87.       The above-identified defendant knew or should have known that its physicians,

midwives, and nursing staff were not familiar with and/or failed to follow the hospital's written

policies and procedures with respect to the matters described above, to the extent that they

existed.

         88.       The above-identified defendant knew or should have known that its physicians,

midwives, and nursing staff did not possess the adequate training, skill or knowledge in the

evaluation and management of patients, like Plaintiff Katerina Spangler and L.T.

         89.       The foregoing corporate negligence of the above-identified defendant increased

the risk of harm to Plaintiffs.

         90.       As a direct and proximate result of the corporate negligence of the above-

identified defendant, Plaintiff L.T. was deprived of necessary, timely and appropriate evaluation,

diagnosis, treatment and management of the labor and delivery process.

         91.       As a direct and proximate result of the corporate negligence of the above-

identified defendant Plaintiff L.T. suffered catastrophic injuries, as described herein Plaintiffs’

Damages section of the Complaint.

        WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally,

for all actual and compensatory damages in an amount in excess of the prevailing federal

arbitration limit and for any other further relief as this Honorable Court and/or jury may deem

just and proper.

           COUNT FIVE - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
               PLAINTIFF KATERINA SPANGLER v. ALL DEFENDANTS

         65.       The previous paragraphs are incorporated by reference as though fully set forth at

length herein.




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          66.      Plaintiff witnessed the medical negligence during the labor and delivery of her

minor son, L.T., as described herein, and she has been caused to suffer permanent psychological

and physical harm, severe emotional and physical distress, depression, anxiety, mental anguish

and shock to her nerves and nervous system.

          WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, for

all actual and compensatory damages in an amount in excess of the prevailing federal arbitration

limit and for any other further relief as this Honorable Court and/or jury may deem just and

proper.

           COUNT SIX- NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
              PLAINTIFF CHRISTOPHER TURNER v. ALL DEFENDANTS

          67.      The previous paragraphs are incorporated by reference as though fully set forth at

length herein.

          68.      Plaintiff witnessed the medical negligence during the labor and delivery of his

minor son, L.T., as described herein, and he has been caused to suffer permanent psychological

and physical harm, severe emotional and physical distress, depression, anxiety, mental anguish

and shock to her nerves and nervous system.

          WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, for

all actual and compensatory damages in an amount in excess of the prevailing federal arbitration

limit and for any other further relief as this Honorable Court and/or jury may deem just and

proper.




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                                                         FRIEDMAN SCHUMAN, P.C.



Date: July 12, 2022                                By:

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                                              CERTIFICAITON

         Under Federal Rule of Civil Procedure 11, by signing below, I, Derek R. Layser, attorney

for Plaintiffs, certify to the best of my knowledge, information, and belief that this complaint: (1)

is not being presented for an improper purpose, such as to harass, cause unnecessary delay, or

needlessly increase the cost of litigation; (2) is supported by existing law or by a nonfrivolous

argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a

reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise

complies with the requirements of Rule 11.




                                                              FRIEDMAN SCHUMAN, P.C.

Date: July 12, 2022                                     By:
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